Case: 1:24-cv-00753-BMB Doc #: 1-1 Filed: 04/29/24 1 of 5. PageID #: 13




         Exhibit A
                    Case: 1:24-cv-00753-BMB Doc #: 1-1 Filed: 04/29/24 2 of 5. PageID #: 14
                                                                                                    PURCHASE ORDER
  Send Invoices To:

  Hodell-Natco Industries, Inc.
                                                                                                            Purchase Order Number
  7825 Hub Parkway
  Valley View, OH, 44125-5710                                                                                      4417380
                                                                                                           Date               Page
  Phone: 216-447-0165                                                                               05/06/2021 16:49:19      1 of 1
  FAX: 216-447-5078                                                                                          External PO Number
                                                                                                                     YES
  Send To:                                                                           Ship To:
  GLOBE-CON INTERNATIONAL, INC.                                                      HNI-Sparks
  CONCORD SQUARE BLDG                                                                890 East Glendale Ave
  7 E. SILVER SPRINGS BLVD #205                                                      Sparks, NV 89431
  OCALA, FL 34470                                                                    775-358-2638
  US
  352-732-5189


Attn:
Supplier ID:       22210

               Buyer Name                                           Ship Via                                  Terms Description
            Hamilton, Joanne                                                                                 1.5% 15 Days Net 60

                   UOM                                                                                          Pricing UOM
        Quantity                   Required      Item ID                                                 Net                       Extended
                      Unit Size      Date        Item Description                                  Unit Price          Unit Size       Price

                                   PO Note: SAMPLES OF EACH MANUFACTURES LOT
                                           NUMBER TO BE SENT TO SPARKS, NV TO
                                           BE TESTED AND APPROVED PRIOR TO
                                           ANY NEW LOTS SHIPPING FROM
                                           OVERSEAS.
                                PO Note: THIS PO IS FOR 3 RELEASES OF 1MM
                                           EACH
                            Supplier Note: Hodell-Natco must be notified prior to shipment
                                           of all orders.
                                           All product must be manufactured to the
                                           accompanying standards and packaging
                                           requirements. This order is not valid without the
                                           accompanying standards requirements.


   3,000,000.00 EA               06/01/2022 HW7S0140200CY
                             1.0            #14 X 2 SPL HWH TYPE 17 THRD CUT
                                            SCREW 1 3/8IN. THRD TRIVALENT ZINC
                                            YELLOW
                               Item Note: QC-B Rev Org Print WS-25-B
                                            Send 100 Samples to Cleveland for Inspection
                           PO Line Notes: THIS PART IS PER PRINT (W/ SERRATIONS)

                                                                                                                  TOTAL:




All products must be labeled with country of origin. Mill Test Reports required on all heat treated products.
Submit confirmation to:
Ship exact quantities ordered unless deviation agreed to in writing.

* * * REPRINT * * *
                                     12.2.034, 12/1/2009M082515
                    Case: 1:24-cv-00753-BMB Doc #: 1-1 Filed: 04/29/24 3 of 5. PageID #: 15
                                                                                                   PURCHASE ORDER
  Send Invoices To:

  Hodell-Natco Industries, Inc.
                                                                                                           Purchase Order Number
  7825 Hub Parkway
  Valley View, OH, 44125-5710                                                                                     4426110
                                                                                                          Date               Page
  Phone: 216-447-0165                                                                              09/15/2021 19:07:56      1 of 2
  FAX: 216-447-5078                                                                                         External PO Number
                                                                                                                    YES
  Send To:                                                                          Ship To:
  GLOBE-CON INTERNATIONAL, INC.                                                     HNI-Sparks
  CONCORD SQUARE BLDG                                                               890 East Glendale Ave
  7 E. SILVER SPRINGS BLVD #205                                                     Sparks, NV 89431
  OCALA, FL 34470                                                                   775-358-2638
  US
  352-732-5189


Attn:
Supplier ID:       22210

               Buyer Name                                           Ship Via                                 Terms Description
            Hamilton, Joanne                                                                                1.5% 15 Days Net 60

                   UOM                                                                                         Pricing UOM
        Quantity                  Required      Item ID                                                 Net                       Extended
                      Unit Size     Date        Item Description                                  Unit Price          Unit Size       Price

                                  PO Note: INSPECTION REPORT, MATERIAL AND
                                                PLATING CERTS REQUIRED.
                                  PO Note: SAMPLES OF EACH MANUFACTURES LOT
                                          NUMBER TO BE SENT TO SPARKS, NV TO
                                          BE TESTED AND APPROVED PRIOR TO
                                          ANY NEW LOTS SHIPPING FROM
                                          OVERSEAS.
                               PO Note: THIS ORDER IS FOR 3 SHIPMENTS -
                                          PLEASE NOTE FIRST SHIPMENT IS A RUSH.
                                          WE NEED BEFORE 300 DAYS
                           Supplier Note: Hodell-Natco must be notified prior to shipment
                                          of all orders.
                                          All product must be manufactured to the
                                          accompanying standards and packaging
                                          requirements. This order is not valid without the
                                          accompanying standards requirements.


   9,704,167.00 EA              01/15/2023 HW7S0140200CY
                            1.0            #14 X 2 SPL HWH TYPE 17 THRD CUT
                                           SCREW 1 3/8IN. THRD Z/Y
                              Item Note: QC-B Rev Org Print WS-25-B
                                           Send 100 Samples to Cleveland for Inspection
    Release No: 1                  Qty: 5,775,900.00         Release Date: 11/01/2022       Comment: *Complete*
    Release No: 2                   Qty: 1,310,400.00              Release Date: 11/02/2022 Comment: *Complete*
    Release No: 3                   Qty: 1,300,000.00              Release Date: 12/15/2022 Comment: *Complete*
    Release No: 4                   Qty: 1,317,867.00              Release Date: 01/15/2023 Comment: *Complete*



All products must be labeled with country of origin. Mill Test Reports required on all heat treated products.
Submit confirmation to:
Ship exact quantities ordered unless deviation agreed to in writing.

* * * REPRINT * * *
                                    12.2.034, 12/1/2009M082515
                                                                                  PURCHASE ORDER
                   Case: 1:24-cv-00753-BMB Doc #: 1-1 Filed: 04/29/24 4 of 5. PageID #: 16
  Send Invoices To:

  Hodell-Natco Industries, Inc.
                                                                                         Purchase Order Number
  7825 Hub Parkway
  Valley View, OH, 44125-5710                                                                   4426110
                                                                                        Date               Page
  Phone: 216-447-0165                                                            09/15/2021 19:07:56      2 of 2
  FAX: 216-447-5078                                                                       External PO Number
                                                                                                  YES
                  UOM                                                                        Pricing UOM
       Quantity                 Required      Item ID                                 Net                       Extended
                    Unit Size     Date        Item Description                  Unit Price          Unit Size       Price


                                                                                               TOTAL:




All products must be labeled with country of origin. Mill Test Reports required on all heat treated products.
Submit confirmation to:
Ship exact quantities ordered unless deviation agreed to in writing.

* * * REPRINT * * *
                                  12.2.034, 12/1/2009M082515
                    Case: 1:24-cv-00753-BMB Doc #: 1-1 Filed: 04/29/24 5 of 5. PageID #: 17
                                                                                                    PURCHASE ORDER
  Send Invoices To:

  Hodell-Natco Industries, Inc.
                                                                                                           Purchase Order Number
  7825 Hub Parkway
  Valley View, OH, 44125-5710                                                                                     4438964
                                                                                                          Date               Page
  Phone: 216-447-0165                                                                              04/07/2022 10:31:54      1 of 1
  FAX: 216-447-5078                                                                                         External PO Number
                                                                                                                    YES
  Send To:                                                                          Ship To:
  GLOBE-CON INTERNATIONAL, INC.                                                     HNI-Sparks
  CONCORD SQUARE BLDG                                                               890 East Glendale Ave
  7 E. SILVER SPRINGS BLVD #205                                                     Sparks, NV 89431
  OCALA, FL 34470                                                                   775-358-2638
  US
  352-732-5189


Attn:
Supplier ID:       22210

               Buyer Name                                           Ship Via                                 Terms Description
            Hamilton, Joanne                                                                                1.5% 15 Days Net 60

                   UOM                                                                                          Pricing UOM
        Quantity                  Required      Item ID                                                  Net                       Extended
                      Unit Size     Date        Item Description                                   Unit Price          Unit Size       Price

                                  PO Note: SAMPLES OF EACH MANUFACTURES LOT
                                          NUMBER TO BE SENT TO SPARKS, NV TO
                                          BE TESTED AND APPROVED PRIOR TO
                                          ANY NEW LOTS SHIPPING FROM
                                          OVERSEAS.
                               PO Note: QUOTED 250 DY LEAD TIME FOR 1ST
                                          RELEASE. PO IS FOR 3 RELEASES
                               PO Note: INSPECTION REPORT, MATERIAL AND
                                          PLATING CERTS REQUIRED.
                           Supplier Note: Hodell-Natco must be notified prior to shipment
                                          of all orders.
                                          All product must be manufactured to the
                                          accompanying standards and packaging
                                          requirements. This order is not valid without the
                                          accompanying standards requirements.


  10,000,000.00 EA              05/01/2023 HW7S0140200CY
                            1.0            #14 X 2 SPL HWH TYPE 17 THRD CUT
                                           SCREW 1 3/8IN. THRD Z/Y CR3
                              Item Note: QC-B Rev Org Print WS-25-B
                                           Send 100 Samples to Cleveland for Inspection
    Release No: 1                  Qty: 1,300,000.00         Release Date: 04/01/2023 Comment: *Complete*
    Release No: 2                   Qty: 8,700,000.00              Release Date: 05/01/2023 Comment: *New Release Added*

                                                                                                                  TOTAL:



All products must be labeled with country of origin. Mill Test Reports required on all heat treated products.
Submit confirmation to:
Ship exact quantities ordered unless deviation agreed to in writing.

* * * REPRINT * * *
                                    12.2.034, 12/1/2009M082515
